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         Exhibit 14
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                                             STEFANIE LAMBERT
                                 LAW OFFICES OF STEFANIE L. LAMBERT, PLLC            Admitted to Practice in the
 Criminal and Civil Litigation                                                          District of Columbia,
Specializing in Constitutional                400 RENAISSANCE DRIVE                United States District Courts for
Law, Civil Rights and Election                      FLOOR 26                          the Eastern and Western
       Law Violations                           DETROIT, MI 48243                     Districts, and the State of
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   March 15, 2024

   Via Email or As Directed To:

   jackert@idsinc.com
   Mr. Julian Ackert
   Managing Director
   iDiscovery Solutions

   Re:       Letter from Susman Godfrey, LLP Regarding U.S. Dominion v. Patrick Byrne, Case No.
             1:21-cv-02131

   Dear Mr. Ackert:

   This is in response to and addresses correspondence sent on March 14, 2024, by Jonathan Ross of
   Susman Godfrey LLP to iDiscovery Solutions (iDiscovery), demanding that iDiscovery “cease
   and desist” providing discovery to undersigned counsel for Patrick Byrne. In his letter, Mr. Ross
   claims that we are in breach of the protective order in U.S. Dominion v. Patrick Byrne, Case No.
   1:21-cv-02131.

   Through the production of documents in the case, Mr. Byrne has come into possession of email
   communications produced by Dominion during discovery (some written in Serbian) from top level
   Dominion employees directing and tasking Serbian foreign nationals to remotely access voting
   machines utilized in the United States during the November 3, 2020 election. The remote access
   by these Serbian foreign nationals occurred while the states were still counting votes, determining
   a final tally, and prior to certification of the results. These email communications to and from
   Serbian foreign nationals are evidence of criminal violations, and further support charges of, inter
   alia, perjury, foreign interference in a U.S. election, honest services fraud, and wire fraud.

   These communications are not covered by the Amended Protective Order, but they are subject to
   disclosure under the rules of civil procedure in the litigation. In any event, because these
   documents evidence criminal violations, they have been turned over to law enforcement for
   investigation in accordance with my obligations as an attorney and officer of the court.

   Furthermore, Dominion has no legal right to order you to “cease and desist” your obligations to
   produce documents in the ordinary course of discovery in Mr. Byrne’s civil trial, as doing so would
   itself be a violation of the Rules of Civil Procedure and the Local Rules of District Court. See,
   e.g., Fed. R. Civ. P. 34(2)(B)(e)(1) (parties have an obligation to produce documents kept in the
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RE:      Letter from Susman Godfrey, LLP Regarding U.S. Dominion v. Patrick Byrne, Case No.
         1:21-cv-02131

March 15, 2024


ordinary course of their business). The discovery orders in this case reflect the obligations of
production, and these rules apply equally to iDiscovery as the third-party entity handling the
production of documents in this case. Any attempt to “cease and desist” providing Mr. Byrne with
discovery would also be a de facto violation of his rights to prepare his defense in his case.

Finally, and perhaps most importantly, attempts by Dominion, and any entity that collaborates
with them to withhold discovery and to interfere with the disclosure of evidence in the case would
be obstructing justice, and would therefore be accessories after the fact to criminal acts.

Therefore, we are demanding that you do not “cease and desist” production of discovery in Mr.
Byrne’s case as there has been no court order for you to do so, and Dominion does not have the
jurisdiction or authority, or the right to interfere with the procedures of the court.

                                                            Sincerely,


                                                            Stefanie Lambert


cc:      Jonathan Ross, Esq., Susman Godfrey, LLP,
         jross@susmangodfrey.com
